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                                                                    U.S.DISTRiCT COURT
            IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF GEORGIA                oniCUAV 10    AUII*OT
                               AUGUSTA DIVISION                             19 AH II-27
                                                                  CLERK.
UNITED STATES OF AMERICA               *
                                       if


             V.                        *       CR 106-028
                                       if


JEREMIAH LANE                          *




                                    ORDER




       In January 2016, Defendant Jeremiah Lane filed a motion

to vacate, set aside or correct his federal sentence pursuant

to   28    U.S.C.      §   2255.    Defendant   had     pleaded    guilty       to

conspiracy        to   rob    commercial    businesses;      robbery       of    a

commercial business; and discharging a firearm during a crime

of violence; he was sentenced on Feburary 20, 2007 on those

crimes.     Defendant contended in his § 2255 petition that he

did not possess a firearm.             The petition was dismissed as

untimely on April 18, 2016.           In the Order of April 18, 2016,

this      Court     denied    the   issuance     of     a   certificate         of


appealability and determined that Defendant is not entitled to

proceed In forma pauperis on appeal.                  On May 5, 2016, this

Court denied Defendant's motion for reconsideration and denied

as moot his motion to proceed in forma pauperis on appeal.

The Court allowed the Clerk's office to re-file Defendant's

motion for reconsideration as a Notice of Appeal however.
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